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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                          November 08, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                 CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                 CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA,         §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                 ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC, ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC      §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
A. KELLY WILLIAMS, MOUNTAIN         §
BUSINESS CENTER, LLC, RANDY W       §
WILLIAMS CH7 TRUSTEE, OTISCO RDX §
LLC, MCITBE, LLC, JETALL/CROIX      §
PROPERTIES LP, AND JETALL/CROIX §
GP, LLC,                            §
                                    §
        Defendants.                 §

           ORDER DENYING MOTION FOR SANCTIONS AND TO COMPEL

       This matter is before the Court on the Motion for Sanctions and to Compel the Completion

of Plaintiffs’ Depositions and Overrule Specious Objections (ECF No. 291) filed by Defendant

Ali Choudhri. The defendant attached a certificate of service to the instant motion that stated

service was made electronically. However, there was no service list attached with the names and

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addresses of those served as required by Bankruptcy Local Rule 9013-1(f).1 It is not sufficient for

the certificate to merely state all creditors have been served without specifying who those creditors

are, as, this Court is unable to determine whether all required parties have been properly served

with the instant motion. In addition, the movant failed to attach a proposed order to the instant

motion as required by Bankruptcy Local Rule 9013-1(h).2

        ACCORDINGLY, IT IS ORDERED that the Motion for Sanctions and to Compel the

Completion of Plaintiffs’ Depositions and Overrule Specious Objections is denied without

prejudice.

          SIGNED 11/08/2024


                                                             ___________________________________
                                                             Jeffrey Norman
                                                             United States Bankruptcy Judge




1
  The Bankruptcy Local Rules can be found at the following website: https://www.txs.uscourts.gov/page-
bankruptcy-local-rules.
2
  “Each motion, application, objection, and response filed with the court must be accompanied by a proposed order.”
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